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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

    COMMODITY FUTURES TRADING
    COMMISSION,

                        Plaintiff,
    vs.                                                  Case No. 3:17-cv-774-J-32MCR

    JASON B. SCHARF (d/b/a Citrades.com and
    AutoTradingBinary.com); CIT INVESTMENTS
    LLC; BREVSPAND EOOD; CIT INVESTMENTS
    LTD.; A & J MEDIA PARTNERS, INC.;
    MICHAEL SHAH; and ZILMIL, INC.,

                        Defendants.


                                              ORDER

          This case came before the Court on March 16, 2018 for a hearing on pending motions

    and for a status conference.      As announced at the hearing, the record of which is

    incorporated by reference, it is hereby

          ORDERED:

          1.     Plaintiff Commodity Futures Trading Commission’s Unopposed Motion for

    Entry of Consent Order of Permanent Injunction and Other Statutory and Equitable Relief

    Against Defendants Jason B. Scharf (d/b/a Citrades.com and AutoTradingBinary.com) and

    A&J Media Partners, Inc., (Doc. 86) is GRANTED. The Court will enter the consent

    judgment (which the CFTC will shortly provide in Word or WordPerfect form for some minor

    editing) by separate Order. No later than APRIL 9, 2018, the CFTC shall advise the Court

    as to its plans for the prosecution of this matter as to defendants CIT Investments LLC,

    Brevspand EOOD, and CIT Investments, Ltd.
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           2.     Defendants Michael Shah and Zilmil, Inc.’s Motion to Compel (Doc. 77) is

    DENIED WITHOUT PREJUDICE. No later than MARCH 30, 2018, if they decide to pursue

    it, defendants Shah and Zilmil, Inc. are directed to send the CFTC more targeted and

    focused interrogatories, and the CFTC is directed to provide more fulsome responses by

    APRIL 18, 2018.

           3.     The Receiver’s Application to Employ Vendor to Provide Noticing and Claims

    Administration Services and Vendor to Provide Cash Management and Distribution Services

    (Doc. 65) is DENIED WITHOUT PREJUDICE to the extent that the Receiver may not yet

    employ an outside vendor to provide notice and claims administration services but is

    GRANTED to the extent that the Receiver may employ Bankruptcy Management Services

    as an outside vendor to provide cash management services to assist the Receiver in

    managing the funds of the Estate.

           4.     The Receiver’s Initial Interim Application for an Order Approving and

    Authorizing Payment of Fees and Expenses of Receiver and his Professionals (Doc. 62) and

    the Receiver’s Second Interim Application for an Order Approving and Authorizing Payment

    of Fees and Expenses of Receiver and his Professionals (Doc. 87) are GRANTED. The

    Receiver shall provide a proposed Order for the Court (after circulating it among the parties)

    that includes the amounts the Receiver is now authorized to pay in fees and expenses for

    the Receiver and his professionals and that states which defendants’ accounts will pay which

    amounts.




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          5.     Following the forthcoming January 1, 2018 to March 31, 2018 Application, the

    Receiver may not spend or commit to spending more than $50,000 total without advance

    approval of the Court.

          6.     The parties are reminded to contact their mediator forthwith to schedule their

    Mediation.

          7.     By separate order, the Court will enter an amended case schedule.

          DONE AND ORDERED at Jacksonville, Florida this 19th day of March, 2018.




    s.
    Copies:

    counsel of record




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